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                       IN THE UNITED STATES DISTRICT COURT
                      FOR THE NORTHERN DISTRICT OF ILLINOIS
                                 EASTERN DIVISION

TIMOTHY KYLES,                                )
                                              )
                       Plaintiff,             )
                                              )       Case No. 15 C 8895
               v.                             )
                                              )
FRED BEAUGARD, et al.,                        )
                                              )
                       Defendants.            )

                          MEMORANDUM OPINION AND ORDER

AMY J. ST. EVE, District Court Judge:

       On November 30, 2016, Plaintiff Timothy Kyles, by counsel, filed a nine-count Fifth

Amended Complaint against individuals employed by the Illinois Department of Corrections

(“IDOC”) alleging violations of his constitutional rights, as well as state law claims, that

occurred while he was incarcerated at Stateville Correctional Center (“Stateville”). See 28

U.S.C. §§ 1331, 1367(a). On June 13, 2017, the Court granted in part and denied in part

Defendants’ motion to dismiss brought pursuant to Federal Rule of Civil Procedure 12(b)(6).

The remaining claims in this lawsuit include: (1) a First Amendment retaliation claim (Count I);

(2) Eighth Amendment failure to protect claims (Counts II and III); (3) an Eighth Amendment

medical care claim (Count IV); (4) an Eighth Amendment failure to intervene claim (Count V);

(5) a state law intentional infliction of emotional distress (“IIED”) claim (Count VII); and (6) a

policy claim styled as a Monell claim (hereinafter “policy claim”) (Count IX).

       Before the Court is Defendants’ Rule 56(a) motion for partial summary judgment based

on Kyles’ alleged failure to exhaust his available administrative remedies in a timely fashion

pursuant to the Prison Litigation Reform Act (“PLRA”), 42 U.S.C. § 1997e(a). In their motion,
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Defendants do not argue that Kyles failed to exhaust his administrative remedies as to his Eighth

Amendment claims alleged in Counts II through V due to the regulations promulgated pursuant

to the Prison Rape Elimination Act of 2003 (“PREA”), 42 U.S.C. §§ 15601-15609, which do

“not impose a time limit on when an inmate may submit a grievance regarding an allegation of

sexual abuse.” 28 C.F.R. § 115.52(b)(1). Instead, Defendants argue that Kyles did not exhaust

his First Amendment retaliation claim (Count I), his IIED claim (Count VII), and his policy

claim (Count IX). Because the PLRA’s exhaustion requirement does not apply to state law

claims, the Court denies Defendants’ motion in relation to Kyles’ IIED claim as alleged in Count

VII. See McDaniel v. Meisner, 617 Fed. Appx. 553, 556 n.3 (7th Cir. 2015) (unpublished) (“the

exhaustion requirements of the Prison Litigation Reform Act do not apply to state-law claims”).

Therefore, the Court will discuss whether Kyles properly exhausted his First Amendment

retaliation and policy claims in this ruling.

        On August 31, 2017, the Court held an evidentiary hearing under the dictates of Pavey v.

Conley, 544 F.3d 739, 742 (7th Cir. 2008). See Wagoner v. Lemmon, 778 F.3d 586, 591 (7th Cir.

2015) (“The purpose of a Pavey hearing is to resolve disputed factual questions that bear on

exhaustion, including what steps were taken and whether the futility exception might apply.”).1

The following witnesses testified at the Pavey hearing: (1) Plaintiff Timothy Kyles; (2) Anna

McBee, via video-conference, who is a correctional counselor and grievance officer at Stateville;

and (3) Sherry Benton, the chairperson of IDOC’s Administrative Review Board. During the


1
  Although the Seventh Circuit has reasoned that “it is better practice to hold a Pavey hearing
separate from and before considering a motion for summary judgment,” see Wagoner v.
Lemmon, 778 F.3d 586, 593 (7th Cir. 2015), because Defendants’ motion for partial summary
judgment only concerns exhaustion – and not the merits of Plaintiff’s claims – any chance of
confusion is negligible.

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hearing, the Court had the opportunity to assess each witness’ credibility. The parties also

offered numerous exhibits into evidence that the Court discusses below.

         Based on the following, Defendants have not fulfilled their burden of establishing that

Kyles failed to exhaust his administrative remedies as to his First Amendment retaliation claim

as alleged in Count I and his policy claim in Count IX. See Pyles v. Nwaobasi, 829 F.3d 860,

869 (7th Cir. 2016). Nonetheless, the Court dismisses Defendant Salvador Godinez as to Kyles’

policy claim in Count IX because he is no longer employed by IDOC and Kyles cannot obtain

money damages against Defendant Godinez based on Eleventh Amendment immunity, as

discussed in detail below.2 The Court therefore grants in part and denies in part Defendants’

motion for partial summary judgment.

                                         BACKGROUND

I.       First Amendment Retaliation Claim

         Defendants first argue that Kyles did not exhaust his First Amendment retaliation claim

as alleged in Count I of his Fifth Amended Complaint. Based on the Pavey hearing testimony

and exhibits admitted into evidence, Kyles’ First Amendment retaliation claim is based on an

alleged October 24, 2014 threat made by Stateville Correctional Officer Derek Jaburek, who is

not a Defendant to this lawsuit. In particular, Kyles asserts that Officer Jaburek threatened him

by saying he was going to place contraband in Kyles’ cell. Further, Kyles testified that

immediately following this incident, he lodged a complaint about Officer Jaburek in a statement

to Internal Affairs via a verbal complaint to Defendant Officer Fred Beugard. Thereafter, Kyles

contends that certain Defendants issued him a false disciplinary ticket in retaliation for his
2
 Because Kyles is suing Defendant John Baldwin, IDOC’s Acting Director, in his official
capacity for prospective injunctive relief, he is the proper defendant for Kyles’ policy claim. See
Gonzalez v. Feinerman, 663 F.3d 311, 315 (7th Cir. 2011) (per curiam).
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complaints about Officer Jaburek. In particular, on October 25, 2014, Defendant Beaugard

issued Kyles a disciplinary ticket for “intimidation or threats” and “dangerous communications.”

(Hr’g. Ex. 23.) After conducting a hearing at which Kyles attended, the Adjustment Committee

expunged the disciplinary ticket as unsubstantiated on November 5, 2014.

          In the interim, while Kyles awaited the hearing on the disciplinary ticket, he maintains

that certain Defendants further retaliated against him by placing him in double-cell segregation

with a violent general population inmate, Jorge Pena, who was affiliated with the Gangster

Disciples – despite the fact of Kyles’ mental illness and his protective custody (“PC”) status

related to the Gangster Disciples. While housed in double-cell segregation with Pena, Kyles

asserts that Pena physically assaulted and raped him.

II.       Policy Claim

          Next, Defendants argue that Kyles has failed to exhaust his policy claim as alleged in

Count IX of his Fifth Amended Complaint. As Defendants pointed out at the Pavey hearing,

Kyles’ claim against IDOC, an agency of the State of Illinois, does not necessarily fit under the

Monell rubric. See Will v. Michigan Dep’t of State Police, 491 U.S. 58, 71 (1989) (“We hold

that neither a State nor its officials acting in their official capacities are ‘persons’ under §

1983.”). That being said, Kyles may bring a policy claim against IDOC, keeping in mind that he

cannot recover monetary damages due to Eleventh Amendment immunity, although the Eleventh

Amendment does not bar his request for prospective injunctive relief. See Williams v.

Wisconsin, 336 F.3d 576, 581 (7th Cir. 2003) (“Official-capacity suits against state officials

seeking prospective relief are permitted by § 1983”).




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        In Count IX, Kyles alleges that there is a widespread custom or practice at Stateville to

double-cell PC inmates with general population inmates when they are detained during

investigations and that this policy contravenes Defendants’ Eighth Amendment duty to protect.

Furthermore, Kyles maintains that this policy led to his assignment with Pena, who raped and

abused him while he awaited the Adjustment Committee hearing regarding his October 2014

disciplinary ticket.

                                      LEGAL STANDARD

        In the present motion, Defendants argue that Kyles has failed to exhaust his available

administrative remedies as required by the Prison Litigation Reform Act (“PLRA”). See 42

U.S.C. § 1997e(a). The “benefits of exhaustion … include allowing a prison to address

complaints about the program it administers before being subjected to suit, reducing litigation to

the extent complaints are satisfactorily resolved, and improving litigation that does occur by

leading to the preparation of a useful record.” Jones v. Bock, 549 U.S. 199, 219 (2007). More

specifically:

        Congress enacted § 1997e(a) to reduce the quantity and improve the quality of
        prisoner suits; to this purpose, Congress afforded corrections officials time and
        opportunity to address complaints internally before allowing the initiation of a
        federal case. In some instances, corrective action taken in response to an inmate’s
        grievance might improve prison administration and satisfy the inmate, thereby
        obviating the need for litigation. In other instances, the internal review might
        “filter out some frivolous claims.” And for cases ultimately brought to court,
        adjudication could be facilitated by an administrative record that clarifies the
        contours of the controversy.

Porter v. Nussle, 534 U.S. 516, 524-25 (2002) (internal citations omitted).

        Failure to exhaust under the PLRA is an affirmative defense that Defendants must prove,

see Hernandez v. Dart, 814 F.3d 836, 840 (7th Cir. 2016), because “[u]nexhausted claims are


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procedurally barred from consideration.” Pyles, 829 F.3d at 864; see also Woodford v. Ngo, 548

U.S. 81, 88, 93 (2006). “The PLRA does not, however, demand the impossible,” and thus,

“[r]emedies that are genuinely unavailable or nonexistent need not be exhausted.” Pyles, 829

F.3d at 864; see also Weiss v. Barribeau, 853 F.3d 873, 875 (7th Cir. 2017) (“Obviously

prisoners can’t be required to exhaust remedies that are unavailable to them[.]”). “A remedy

becomes unavailable ‘if prison employees do not respond to a properly filed grievance or

otherwise use affirmative misconduct to prevent a prisoner from exhausting.’” Pyles, 829 F.3d

at 464 (citation omitted).

       Each state sets its own prison grievance system, see Jones, 549 U.S. at 218, and “[a]

prisoner must comply with the specific procedures and deadlines established by the prison’s

policy.” King v. McCarthy, 781 F.3d 889, 893 (7th Cir. 2015). “Illinois has created a three-stage

process for its inmates.” Pyles, 829 F.3d at 864; see also 20 Ill. Admin. Code § 504.800, et seq.

“Step one requires the inmate to attempt to resolve the problem through his or her counselor.”

Pyles, 829 F.3d at 864. “If that does not resolve the problem, the inmate must invoke step two,

which involves the filing of a written grievance with a grievance officer … within 60 days after

discovery of the problem.” Id.; see also Roberts v. Neal, 745 F.3d 232, 235 (7th Cir. 2014) (“a

grievance shall be filed within 60 days after the discovery of the incident, occurrence, or problem

that gives rise to the grievance.”). If the grievance officer denies the grievance and the chief

administrative officer (usually the warden) affirms the denial, the inmate may then appeal the

decision to the Illinois Administrative Review Board (“ARB”), which is an entity within IDOC

that has statewide jurisdiction. See Pyles, 829 F.3d at 864.




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         Alternatively, when an inmate believes he is raising an emergency issue, he may bypass

the counselor and grievance officer and submit his grievance directly to the chief administrative

officer. See 20 Ill. Admin. Code § 504.840; Roberts, 745 F.3d at 236. If the chief administrative

officer agrees that the grievance relates to an emergency, namely, an issue presenting “a

substantial risk of serious personal injury or other serious irreparable harm to the offender,” see

Roberts, 745 F.3d at 236, prison staff will then expedite the grievance process. If the chief

administrative officer concludes that the grievance does not present an emergency, the inmate

may then appeal that denial to the ARB on an expedited basis. See id. at 235; Thornton v.

Snyder, 428 F.3d 690, 694 (7th Cir. 2005); 20 Ill. Admin. Code § 504.850(f).

                                            ANALYSIS

I.       Stateville’s Exhaustion Protocol

         In their motion, Defendants specifically argue that Kyles failed to file his grievances

concerning his First Amendment retaliation claim and policy claim “within 60 days after the

discovery of the incident, occurrence, or problem that gives rise to the grievance.” See 20 Ill.

Admin. Code § 504.810(a). In relation to Defendants’ motion for partial summary judgment, the

parties presented evidence through their Northern District of Illinois Local Rule 56.1 Statements

– many of which are undisputed. The parties’ Rule 56.1 Statements, along the Pavey testimony,

necessarily mirror the requirements set forth by 20 Ill. Admin. Code § 504.800, as discussed

above. More specifically, the protocol at Stateville includes that an inmate may fill out a

grievance form and deposit it in the bars of his cell for pick-up by the institutional mail service

for delivery to a counselor. Under this first stage, an inmate may also deliver the grievance to his

counselor in person. Normally, after the counselor reviews the grievance, he or she writes a


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response and returns the original grievance to the inmate. If the inmate is dissatisfied with the

counselor’s response, he may then submit the grievance to a grievance officer for review. After

the grievance officer reviews the grievance, she forwards her conclusions to Stateville’s warden,

who is the chief administrative officer. Also, if a grievance concerns an emergency situation,

Stateville staff directly forward the grievance to the chief administrative officer. If the chief

administrative officer or his delegate decides there is no emergency, they return the grievance to

the grievance officer. After receiving the chief administrative officer’s decision – in either an

emergency or non-emergency situation – if the inmate is not satisfied with the result, he may

appeal the decision to the ARB.

II.       Relevant Grievances

          A.     First Amendment Claim

                 1.      December 2014 Grievances

          The incident concerning Officer Jaburek and the resulting events related to Kyles’ First

Amendment retaliation claim started on October 24, 2014. Defendants argue that the evidence in

the record, most notably the grievance office’s log, shows that Kyles did not file any grievances

about the October 24, 2014 through November 2014 events resulting in his detention with Pena

until February 2015 – well after the 60 day time period required by 20 Ill. Adm. Code § 810(a).

Kyles, on the other hand, testified that he submitted three grievances about the October and

November 2014 events on December 22, 2014, which is within the 60 day time period. He also

testified that he placed these grievances in the bars of his cell for pick-up. Furthermore, Kyles

stated that he did not receive responses to these grievances and that it was not the first time

during his incarceration that he had not received such responses from his IDOC counselors. Also


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at the evidentiary hearing, Kyles testified that he remembers that he filed these grievances on

December 22, 2014 because it was his birthday. He also explained that he could not photocopy

his December 2014 grievances because the Stateville law library will not photocopy grievances

unless the inmate’s counselor has responded and signed the grievance form. Defendants did not

present any evidence rebutting the law library’s photocopying policy.

       Anna McBee, a correctional counselor and grievance officer at Stateville, testified at the

hearing about the process in which Stateville grievance officers log inmate grievances. In

particular, the grievance office maintains an Excel spreadsheet logging all of the grievances it

receives after the inmate’s counselor has signed off on the grievance. She explained how

grievance officers date-stamp grievances and then assign them a number. Further, she testified

that the Stateville grievance office processes over six thousand grievances a year. Importantly,

she acknowledged that a grievance officer only logs the grievances that she receives after a

counselor has signed off on the grievance at the conclusion of the first stage of the grievance

process. Equally important, McBee testified that initial inmate grievances placed in the bars of

an inmate’s cell may get lost in the institutional mail or even destroyed. McBee further

explained that in the last several years, Stateville has had numerous counselor vacancies resulting

in temporary counselors and that, at times, inmates may not have had an officially assigned

counselor. In addition, McBee testified that if an inmate does not get a response from his

counselor, he should inquire about the lack of response by writing the grievance office or writing

another grievance to his counselor.

               2.      February 2015 Grievances




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       The parties do not dispute that Kyles filed grievances dated February 17, 2015 that the

grievance office time-stamped on February 23, 2015. (Hr’g Exs. 3, 5, 10.) To give context,

Kyles explained that Stateville assigned him a new counselor in February 2015, and that he

handed his February 2015 grievances directly to his new counselor because she was on his wing.

The grievance office assigned the grievances numbers 711, 712, and 713. (Hr’g Exs. 3, 5, 10.)

Kyles’ grievance 711 states that he turned in grievances on December 22, 2014 and that he never

received a response. (Hr’g Ex. 3.) Kyles attached grievances 712 and 713 to grievance 711

explaining that these two grievances were the ones he sent on December 22, 2014. (Id.) The

parties agree that grievance 712 is a “re-write” of the grievance Kyles filed on December 22,

2014 about Defendant Beaugard (hereinafter “Beaugard grievance”). (R. 169, Defs.’ Rule 56.1

Stmt. Facts ¶ 32.) The Beaugard grievance states:

       On October 24th 2014 I went to Fred Beaugard a C/O at Stateville CC for help
       about another C/O picking at me trying to provoke me. I was told by my doctors
       to report to a C/O if I felt provoked by anybody; and they would come see me. I
       do take psychotropic drugs for Parinoia Skizoo [sic] with Psyco [sic] Features.
       And I went to him and requested help. And he wrote me a ticket, and I was
       placed in seg for 206 Intimidation or Threats and Dangerous Communications,
       which was expunged from my record. Administrative Laris and Sinor and
       Warden T. Williams said that it was not right what happen [sic] to me and I was
       let out of seg after 17 days. Note this is my second grievance on this issue. Just
       would like a response that I can further proceed.

(Hr’g Ex. 5.)

        Likewise, the parties agree that Kyles’ grievance 713 is a “re-write” of a grievance he

sent on December 22, 2014 in relation to Defendant Karen Rabideau (hereinafter “Rabideau

grievance”). (Defs.’ Stmt. Facts ¶ 34.) Defendant Rabideau is Stateville’s placement officer

responsible for inmate cell assignments. The Rabideau grievance states:



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       On the date of 11-5-14, I was released from seg due to mistreatment of the rules
       by staff. On a Wednesday, K. Rabideau was the Placement Officer. Lt. Brown
       was the Lt in F-Hoes and he told me that K. Rabideau said I’ll be out Thursday.
       Thursday came around C/O Hail said that it was changed to Friday 7th. I still was
       not released from seg. It was not until Monday the 10th of November. Rabideau
       Placement C/O did this on purpose. I spent a [sic] extra 5 days in Solitary
       Confinement out of hate by her. Just would like a responds [sic] so that I can
       further my complaint / *note this is my second grievance on this issue.

(Hr’g Ex. 10.) It is undisputed that Kyles’ new counselor, his grievance officer, and the chief

administrative officer addressed the merits of the Rabideau and Beaugard grievances. Also,

evidence shows that Kyles appealed the Rabideau and Beaugard grievances, but that the ARB

dismissed these appeals as untimely without discussing the merits of the grievances.

       Under these circumstances, Defendants have not met their burden of establishing that

Kyles failed to exhaust his First Amendment retaliation claim within the 60 day time period

required by § 504.810(a). More specifically, Kyles testified that he submitted three grievances

on December 22, 2014 – which was within the 60 day time period – concerning the October-

November 2014 events underlying his retaliation claim, yet he did not get responses to these

grievances, and that this was not the first time he did not get responses from grievances he had

filed with an IDOC counselor. Kyles’ testimony that he has not received responses to his

grievances in the past is corroborated by McBee’s testimony that grievances can get lost in the

institutional mail or even get destroyed. Also relevant to the Court’s analysis is that during this

time period, Stateville was experiencing a shortage of counselors and some of inmates may not

have had their own designated counselor to receive grievances. Kyles testified at the Pavey

hearing that he re-filed the December 2014 grievances again in February 2015 because Stateville

assigned him a new counselor in February. He further stated that he handed his February 2015

grievances directly to his new counselor because she was on his wing and that he had the

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February 2015 grievances available because he had been working on re-submitting them – a

practice condoned by McBee. In addition, although the grievance office keeps a log of

grievances filed with the counselor’s response and signature, there is no official log for the first

stage of the grievance process, namely, logging inmates’ initial grievances sent to their

counselors. As such, the fact Kyles’ December 2014 grievances were not on the grievance

office’s log is not compelling enough evidence, alone, to support Defendants’ argument that

Kyles did not file his December 2014 grievances. In fact, it is consistent with Kyles’ testimony

that he never received a response to his December 2014 grievances. Moreover, McBee testified

that if an inmate does not receive a response from his counselor, he should inquire about the lack

of response by writing the grievance office or writing another grievance to his counselor – which

is what Kyles did when he filed his February 2015 grievances. Based on this evidence,

Defendants have not met their burden in establishing Kyles’ failure to exhaust his First

Amendment retaliation claim, and thus he may proceed with Count I in this lawsuit.

       C.      Policy Claim

               1.      January 2015/June 2015 Grievances

       On June 24, 2015, Kyles filed a grievance directly to the ARB regarding his policy claim

stating that PC “inmates were being housed with general population inmates in the segregation

unit” while they are “under investigation” or have “temporary confinement status.” (Hr’g Ex.

15.) He further stated that he is a PC status inmate and that he was placed in segregation with

Jorge Pena, who was a general population inmate. (Id.; see also Hr’g Ex. 14.) The grievances

stated that Pena had physically abused him. (Id.) These grievances, however, did not state that

Pena sexually assaulted Kyles as his March and April 2016 grievances did, discussed below. At


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the Pavey hearing, Kyles testified that he had first filed the June 2015 grievance on January 19 or

January 20, 2015, but that he had not heard back from his counselor, so he filed them again.3

        Assuming that Kyles filed these grievances on January 19 or 20, and that he never

received a response, Kyles does not explain how these grievances are timely under the 60 day

requirement pursuant to 20 Ill. Adm. Code § 810(a). To clarify, it is undisputed that the alleged

misconduct took place starting on October 24, 2014 and ending on November 10, 2014. Thus,

his January 19 and 20, 2015 grievances fall outside the relevant 60 day window. Moreover,

although Kyles highlights two letters – dated October 27, 2014 and November 3, 2014 – that he

sent to Defendant Rabideau about his PC status and being housed in segregation with a gang

member, these letters were not proper grievances. Moreover, evidence in the record reveals that

Kyles was no stranger to Stateville’s grievance protocol, and at the Pavey hearing, he testified

that he knew how to properly file grievances.

               2.      March/April 2016 Grievances

        On September 23, 2015, IDOC transferred Kyles from Stateville to Hill Correctional

Center in Galesburg Illinois. On March 28, 2016, Kyles submitted an emergency grievance to

Hill’s warden with a copy to Defendant Baldwin, who is the Acting IDOC Director. The March

2016 emergency grievance stated:

        On or about October 2014, I was a [sic] inmate at Stateville CC classified as a
        [sic] approved Protective Custody inmate, also deemed mentally ill by health care
        professionals. I was placed in temporary confinement with a general population
        inmate who beat me and raped me while I was on my medication, at that time my
        medication was Rispidal, Rimmrum, and Tegretall. I couldn’t help myself.
        Placing me in seg was done in retaliation for reporting staff to I.A. (Internal
        Affairs) and the displinary [sic] ticket states this. I reported the beating and rape
3
 In his response brief, Kyles explains he is not arguing that the June 2015 grievances exhausted
his administrative remedies, but that they show his persistence in pursuing his claims. (R. 192,
Resp. Brief, at 5 n.3.)
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       to staff. I was laughed at and nothing was done. I was released from temporary
       confinement and placed back in Protective Custody because the ticket was
       expunged (not guilty). I tryed [sic] several times to report this issue by way of
       grievances, by sending grievances to Springfield only to have them returned. I
       then filed a civil complaint Kyles v. Beaugard et al., Case No. 1:15-CV-08895.
       That’s pending now. I was transferred here to Hill CC where I talked to [a]
       mental health care professional, by way of video satellite where I told my issue to
       my doctor. Since I’ve been diagnosed as having P.T.S.D. Post Tramatic [sic]
       Stress Disorder and I’m taking medication for that also Zoloft 100mg. Because
       its [sic] like I’m reliving what happen [sic] to me at Stateville CC over and over
       again. The hate is building. I don’t trust my cell-mates, I can’t sleep and I’m
       having thoughts of hurting one of them. I need help.

(Hr’g Ex. 17.) The ARB reviewed this March 2016 grievance concluding that it was untimely.

(Hr’g Ex. 18.) On April 22, 2016, Kyles submitted another grievance directly to IDOC Director

Baldwin that stated:

       On or about October 2014 I was a [sic] inmate at Stateville Correctional Center,
       classified as a [sic] approved Protective Custody inmate. Also deemed mentally
       ill by mental health care professionals. And was told if I had a problem with staff
       or inmates to report it with a staff member and I’ll be helped. On or about
       October 2014, I was being harassed by C/O Juborek so I reported him to C/O
       Beaugard, Fred, who was a part of Internal Affairs. He told me he would take
       care of my problem, but later he wrote me a displinary [sic] ticket in retaliation
       for reporting another officer. I was placed on temporary confinement and place
       [sic] in population seg with a general population inmate. (Karen Rabideau) was
       the placement officer and she knew I was a Protective Custody inmate also
       mentally ill and she knew according to the rules administrative [sic] that she could
       not house a [sic] inmate that’s in Protective Custody and mentally ill in the same
       cell with general population. But did anyway, and while I was in that cell I was
       beat [sic] and raped while on my medication. I was on Taratol, Rispidin, and
       Ridrum at that time. I report the rape to Lt. Brown the [illegible]. He told me to
       stop lieing [sic] big as you are. I also told Sgt. Durrant [sic]. He laugh [sic] at me
       and said ‘This is what happen [sic] to P.C. mother fuckers who report my officers
       to IA (Internal Affairs). This is my 8th grievance filed on this issue. Since I’ve
       been diagnosed as having P.T.S.D. I’m taking medication now. But it’s like I’m
       reliving what happen [sic] to me over and over again. I can’t sleep and I don’t
       trust my cellmates when I take my medication cause [sic] what happen [sic] to
       me. I’m now sending this grievance to Director John Baldwin certified mail from
       Hill Correctional Center.



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(Hr’g Ex. 19.) At the Pavey hearing, Kyles testified that he sent this grievance directly to

Defendant Baldwin because it contained allegations of sexual abuse. Further, Kyles testified that

Defendant Baldwin accepted the grievance. In response to his April 2016 grievance, IDOC

conducted a Prison Rape Elimination (“PREA”) investigation, and based on the findings of the

investigation, the ARB and IDOC denied Kyles’ April 2016 grievance on the merits as

“unfounded.” (Hr’g Ex. 20.) An ARB representative and Acting IDOC Director Baldwin signed

the August 23, 2016 letter denying Kyles’ grievance on the merits. (Id.)

       Recognizing the untimeliness of these March and April 2016 grievances, Kyles argues

that he need not exhaust his remedies as to his policy claim because – like his Eighth

Amendment claims – these grievances fall under the PREA’s regulations that do “not impose a

time limit on when an inmate may submit a grievance regarding an allegation of sexual abuse,”

see 28 C.F.R. § 115.52(b)(1), as well as Hill Correctional Center’s inmate handbook. Kyles’

policy claim, however, is not necessarily “related to” his sexual abuse allegations. Under the

circumstances, Kyles’ better argument is that he exhausted his policy claim because the

ARB/IDOC resolved his April 2016 grievance on the merits – as evidenced by the investigation

into his complaints and the ARB’s and IDOC’s August 23, 2016 letter concluding that his

grievance was “unfounded.” See Conyers v. Abitz, 416 F.3d 580, 584 (7th Cir. 2005) (“Failure to

comply with administrative deadlines dooms the claim except where the institution treats the

filing as timely and resolves it on the merits.”). As the Seventh Circuit teaches, “[w]here prison

officials address an inmate’s grievance on the merits without rejecting it on procedural grounds,

the grievance has served its function of alerting the state and inviting corrective action, and

defendants cannot rely on the failure to exhaust defense.” Maddox v. Love, 655 F.3d 709, 722


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(7th Cir. 2011). Here, because the ARB/IDOC considered the merits of Kyles’ grievance that

included his allegations of being a mentally ill PC inmate who was placed in segregation with a

general population inmate, Defendants have failed in their burden of establishing that Kyles did

not exhaust his policy claim. See Pyles, 829 F.3d at 869. Accordingly, the Court denies

Defendants’ summary judgment motion as to Kyles’ policy claim as alleged in Count IX.

III.   Notice to Defendants

       Defendants also argue that Kyles did not exhaust his administrative remedies as to the

individual Defendants Tralon Durrett, Maurice Lake, Kevin Laskey, Joshua Clements, Leslie

Turner, and Nicholas Lamb because Kyles did not put them on notice by specifically naming

each Defendant in his grievances. The Illinois Administrative Code requires the following:

       The grievance shall contain factual details regarding each aspect of the offender’s
       complaint, including what happened, when, where and the name of each person
       who is the subject of or who is otherwise involved in the complaint. This
       provision does not preclude an offender from filing a grievance when the names
       of individuals are not known, but the offender must include as much descriptive
       information about the individual as possible.

20 Ill. Admin. Code § 504.810(c).

       Despite Defendants’ argument to the contrary, the main purpose of the PLRA’s

exhaustion requirement is to alert prison officials to an inmate’s problem – not to provide

personal notice to individual officials that they may be subject to litigation. See Jones, 549 U.S.

at 219; Maddox, 655 F.3d at 722. As the Seventh Circuit teaches, “[w]e and the majority of the

circuits have never endorsed [] the defendants’ invitation to engraft onto § 1997e(a) a

requirement that defendants to a civil suit be first named in an inmate’s prison grievance.” Dye

v. Kingston, 130 Fed. Appx. 52, 55 (7th Cir. 2005) (unpublished). As such, the fact that Kyles

“didn’t specifically name the defendants in the grievance was a mere technical defect that had no

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effect on the process and didn’t limit the usefulness of the exhaustion requirement,” see Maddox,

655 F.3d at 722, especially because he sufficiently described the alleged misconduct alerting

Stateville and IDOC to the nature of the alleged wrongs. See, e.g., Fleming v. Illinois Dep’t of

Corr., No. 16 CV 50074, 2017 WL 1833207, at *4 (N.D. Ill. May 8, 2017); Cooper v. Morgan,

No. 12 C 05625, 2016 WL 1181793, at *4 (N.D. Ill. Mar. 28, 2016); Zirko v. Parthasarathi

Ghosh, M.D., No. 10 C 08135, 2015 WL 6447768, at *9 (N.D. Ill. Oct. 26, 2015); Harris v.

Allen, No. 10-CV-0596-MJR-SCW, 2012 WL 2884789, at *5 (S.D. Ill. July 13, 2012). Also,

Stateville staff and ARB/IDOC did not reject Kyles’ grievances on the grounds that he

inadequately identified those involved in the alleged misconduct. See Cooper, 2016 WL

1181793, at *5. Accordingly, Defendants’ “notice” argument fails.

                                        CONCLUSION

       For the reasons set forth above, the Court grants in part and denies in part Defendants’

Rule 56(a) motion for partial summary judgment.

Date: September 18, 2017

                                             ENTERED




                                             _______________________________
                                             AMY J. ST. EVE
                                             United States District Court Judge




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